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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ) Criminal No. X:XX-CR-XXX (XXX)
) .
V_. ) Plea Agreement
. )
DARREN L. HIGHTOWER, )
)
)
Defendant. )

The United States of America, by and through its counsel of record, the United States

Attorney for the Northern District of NeW York, and defendant Darren L. Hightower (hereinafter

“the defendant”), by and through the defendant’s counsel of record, hereby enter into the following

plea agreement pursuant to Rule ll(c)(l)(A) of the Federal Rules of Criminal Procedure:

1)

2)

b)

The Defendant’s Obligations:

Guilty Plea: The defendant Will Waive indictment and plead guilty to Count l of the
information in Case No. X:XX-CR-XXX (XXX) charging the defendant With assault on a .
federal employee in Violation of 18 U.S.C. § lll(a)(l) and (b).

Special Assessment: The defendant Will pay an assessment of $100 per count of
conviction pursuant to 18 U.S.C. § 3013. The defendant agrees to deliver a check or money
order to the Clerk of the Court in the amount of $100`, payable to the U.S. District Court,
at the time of Sentencing. l

Compliance With Other Terms of Agreement: The defendant Will comply in a timely
manner With all of the terms of this plea agreement

The Government’s Obligations:

Compliance With ()ther Terms of Agreement: The government Will comply in a timely

manner With all of the terms of this plea agreement

 

3)

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Potential Maximum Penalties: The defendant understands that the Court can impose the

following maximum penalties for the offense to which the defendant agrees to plead guilty and

may be required to impose mandatory minimum terms of imprisonment, all as set out below:

a)
b)

<>)

d)

4)

Maximum term of imprisonment 20 years, pursuant to 18 U.S.C. §-111(b).

Maximum fines $250,000, pursuant to 18 U.S.C. § 3571(b)(3).

Supervised release term: In addition to imposing any other penalty, the sentencing court
may require the defendant to serve a term of supervised release of up to 3 years, to begin
after imprisonment See 18 U.S.C. § 3583. A violation of the conditions of supervised
release during that time period may result in the defendant being sentenced to an additional
term of imprisonment of up to 2 years.

Other adverse consequences: Other adverse consequences may result from the
defendant’s guilty plea as further described in paragraph F below.

Elements of Offense: The defendant understands that the following are the elements of

the offense to which the defendant agrees to plead guilty. The defendant admits that the

defendant’s conduct satisfies each and every one of these elements

a)

b)

First, that on or about the date specified in the information, the victim was a federal
employee;

Second, that at that time, the defendant forcibly assaulted the victim and this forcible action
involved actual physical contact with the victim;

Third, that at that time, the victim as engaged in the performance of his official duties ;
Fourth, that the defendant acted willfully; and

Fifth, that the defendant’S actions resulted in bodily injury to the victim.

 

5)

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Factual Basis for Guiltv Plea: The defendant admits the following facts, that those facts

demonstrate the defendant’s guilt for the offense to which the defendant is pleading guilty, and

that there are no facts establishing a viable defense to that offense:

6)

7)

a)

b)

On'or about October 12, 2018, N.C. was employed by the United States Postal Service as
a letter carrier.

While N.C. was on his shift at approximately 9:45 a.m. delivering mail, the defendant
willfully punched N.C.in the face, making physical contact with N.C.

As a result of the defendant’s punch, N.C. sustained a bodily injury to his face.
Specifically, N.C. suffered a swollen and black eye and a depression of his nasal bonc.
Sentencing Stipulations:

The defendant’s base offense level is 7 pursuant to U.S.S.G. § 2A2.3(a)(1);

The defendant’s base offense level is increased by 2 levels pursuant to U.S.S.G.
§ 2A2.3(b)(1)(A) because the victim sustained a bodily injury;

The government will recommend a 2-level downward adjustment to the applicable federal
sentencing guidelines offense level pursuant to U.S.S.G. §3E1.l(a) if, (i) through the time
of sentencing, the government is convinced that the defendant has demonstrated
“acceptance of responsibility” for the offense to which the defendant is pleading guilty
and all relevant conduct, as defined in U.S.S.G. § 1B1.3; and (ii) the government does not
determine that the defendant, after signing this agreement, committed any other federal,
state, or local crimes, or engaged in conduct that constitutes “obstruction of justice,” as
defined in U.S.S.G. §?)Cl.l.

Waiver of Rights to Appeal and Collateral Attack: The defendant waives (gives up) any

and all rights, including those conferred by 18 U.S.C. § 3742 and/or 28 U.S.C. §§ 2241 and 2255,

 

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to appeal and/or to collaterally attack the following (except that the defendant does not waive the
right to raise a claim based on alleged ineffective assistance of counsel):

a) The conviction resulting from the defendant’s guilty plea;

b) Any claim that the statute to which the defendant is pleading guilty is unconstitutional;

c) Any claim that the admitted conduct does not fall within the scope of the statute;

d) Any sentence to a term of imprisonment of 14 months or less;

e) Any sentence to a fine within the maximum permitted by law;

f) Any sentence to a term of supervised release within the maximum permitted by law;

g) Any order of forfeiture or restitution imposed by the Court that is consistent with governing

law and is not contrary to the terms of this agreement

Nothing in this appeal waiver is meant to'be or should be construed as a representation of or

agreement concerning the appropriate sentence in this case.

 

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A. Right to Counsel: The defendant has a right to assistance of counsel in connection with
settlement of this case and understands that right. Defense counsel has advised the defendant
of nature of the charges to which the defendant is agreeing to plead guilty and the range of v
possible sentences

B. Waiver of Trial-Related Rights: The defendant has the following additional constitutional
rights in connection with the charges in this case: (i) to be presumed innocent until proven
guilty beyond a reasonable doubt; (ii) to plead not guilty; (iii) to trial by jury; (iv) to confront,
cross-examine, and compel the attendance of witnesses at trial; (v) to present defense evidence;
and (vi) to remain silent and be protected against compelled self-incrimination The defendant
understands that by pleading guilty, the defendant waives (gives up) these rights.

C. Court Not Bound bv Plea Agreement: This plea agreement is made pursuant to Rule
11(c)(l)(A) of the Federal Rules of Criminal Procedure. The Court is neither a party to, nor
bound by this Plea Agreement. The Court may accept or reject this Plea Agreement or defer a
decision until it has considered the Presentence Investigation Report prepared by the United
States Probation Office. If the Court rejects the provisions of this agreement permitting the
defendant to plead guilty to certain charges in satisfaction of other charges, the Court will
permit the defendant to withdraw the plea of guilty before sentencing, pursuant to Fed. R.
Crim. P. ll(c)(§) & (d).

D. Court Not Bound bv A-greed-Unon Recommendations, Stipulations, and Requests: lf this
agreement contains any provisions under Fed. R. Crim. P. ll(c)(l)(B) by which the
government agrees to recommend, stipulates, or agrees not to oppose the defendant's request,

that a particular sentence or sentencing range is appropriate or that a particular provision of the

 

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federal sentencing guidelines, or a policy statement, or sentencing factor does or does not
apply, such a recommendation, stipulation, or request does not bind the Court, which may
make independent factual findings by a preponderance of the evidence and may reject such
recommendations requests, and stipulations between the parties lf the Court rejects one or
more recommendations stipulations, or requests, the defendant is not entitled to withdraw the
defendant’s plea of guilty and is not released from the obligations described in this agreement

Under such circumstances the government reserves the right to support and defend, in

connection with any post-sentencing proceedings any decision the Court may make with

regard to the defendant's sentence, whether or not such decision is consistent with the
government’s recommendations stipulations or requests set out in this agreement
E. Sentencing:

a. Maximum terms of imprisonment The defendant understands that the Court has
discretion to impose a sentence within the statutory maximum sentence(s) set out in this
agreement If the defendant is pleading guilty to multiple charges, the Court may be
required by law to have the sentences of imprisonment on the convictions resulting from
those charges run consecutively to each other. Otherwise', the Court has discretion to have
sentences of imprisonment run concurrently or consecutively See 18 U.S.C. § 35 84.

b. Mandatory minimum terms of imprisonment lf specified in this agreement the
conviction on one or more charges to which the defendant has agreed to plead guilty may
require imposition of a mandatory minimum term of imprisonment In such cases, the
court must impose a term of imprisonment no less than the required mandatory minimum
term unless an exception to that requirement applies Such exception may be dependent

on a motion by the government

 

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c. Section 851 Enhancements: The defendant understands that if the government has filed

an information against the defendant as provided 21 U.S.C. § 851, alleging that the

defendant has one or more final convictions for a felony drug offense, and, as part of this

agreement the defendant has admitted and/ or affirmed that the defendant was so convicted,

then, by pleading guilty, the defendant will lose the right to attack any sentence the court

imposes by challenging any such prior conviction.

d. Sentencing guidelines:

i.

ii.

iii.

The actual sentence to be imposed upon the defendant is within the discretion of the
sentencing Court, subject to the statutory maximum and mandatory minimum penalties,
as described above, and the provisions of the Sentencing Reform Act and the United
States Sentencing Guidelines promulgated thereunder While the Court is not bound
to impose a sentence within the applicable sentencing guidelines range, it must take
into account the sentencing guidelines along with the other factors set forth in 18
U.S.C. § 3553(a).

Any estimate of the defendant’s offense level, criminal history cate gory, and sentencing
guidelines range provided before sentencing is preliminary and is not binding on the
parties to this agreement the Probation Office, or_ the Court. Until the Probation.Office
has fully investigated the defendant’s criminal history, it is not possible to predict with
certainty the defendant’s criminal history category and, in some cases, the defendant’s
offense level.

Under certain circumstances,_ the defendant’s criminal history may affect the ,
defendant’s offense level under the federal sentencing guidelines If the presentence

investigation reveals that the defendant’s criminal history may support an offense level

 

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different than an offense level stipulated in this agreementj the parties are not bound by
any such stipulation as to the defendant’s offense level and may advocate with respect
» to how the defendant’s criminal history affects the offense level.

e. Factual findings: The defendant understands that the sentencing Court may make factual
findings with respect to any and all sentencing factors and issues, including those
referenced in the United States Sentencing Guidelines, whether or not such factors or issues
have been admitted by the defendant or stipulated by the parties ln making those findings
by a preponderance of the evidence, the Court may consider any reliable evidence,
including hearsay. The Defendant understands that the sentence imposed may be
determined based upon such judicial fact-finding.

f. Use of the Defendant’s Statements: The defendant understands that the sentencing court
may consider any statement that the defendant has made or makes in this Plea Agreement,
during the guilty plea, to the Probation Office, and at sentencing when imposing sentence
ln addition the government may be able to use the defendant’s statements in this agreement
and at the guilty plea and at sentencing in any criminal, civil, or administrative proceeding
For example, if the defendant fails to enter a guilty plea (as required by this agreement) or
the defendant’s guilty plea is later withdrawn or vacated for any reason other than the
Court’s rejection of this Plea Agreement under Fed. R. Crim. P. 11(c)(5), the government
may introduce the defendant’s statements into evidence in any prosecution lf, however,
the Court rejects this Plea Agreement under Fed. R. Crim. P. 11(c)(5), and the defendant
withdraws the guilty plea pursuant to Fed. R. Crim. P. 11(d)(2)(A), the government will
not be permitted to use any of the defendant’s statements in this Plea Agreement To the

extent that Rule ll(f) of the Federal Rules of Criminal Procedure and/or Rule 410 of the

 

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Federal Rules of Evidence are inconsistent with this paragraph, the defendant waives (gives
up) any protections under those rules

Government’s Discretion to Recommend a Sentence: Unless a stipulation in this
agreement explicitly limits the government’s discretion with respect to its
recommendations at sentencing, this agreement does not prevent the government from
urging the sentencing Court to find that a particular offense level, criminal history category,
ground for departure, or guidelines range applies; from recommending a specific sentence
within the applicable guidelines range as determined by the Court or as urged by the
government; or, if the government deems appropriate, recommending that the Court
impose a sentence above the applicable guidelines range.

Sentencing-Related Information: The government has the right to advise the sentencing
Court and the Probation Office of any information, in aggravation or mitigation of
sentencing, whether or not encompassed within the count(s) to which the defendant has
agreed to plead guilty, subject only to the limitation described in U.S.S.G. §1B1.8. No
stipulation in this plea agreement limits the obligations of both parties to ensure that the
sentencing Court has all information pertinent to its determination of an appropriate
sentence. The parties may provide any factual information relevantto sentencing to the
Probation Office and/or to the Court, without limitation, before or after the completion of
the Presentence lnvestigation Report. The parties agree that the submission of such
information shall not ben deemed “advocacy” in violation of any stipulation in this plea
agreement

Supervised Release Term and Conditions: If the defendant is placed on supervised

release, under some circumstances, including the defendant’s violation of one or more

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supervised release conditions, the Court may extend the term of supervised release, and
may modify, reduce, or enlarge the conditions of such release.

‘ F. Other Adverse Consequences: The following are some examples of the adverse
consequences of pleading guilty other than the sentence imposed by the Court, along with any
judicial order of forfeiture and/or restitution:

a. Conviction of a felony may result in the loss of civil rights, including, but not limited to,>
the right to vote and the right to possess firearms

b. lf the defendant is not a United States citizen, such conviction may result in deportation or
removal from the United States, may bar readmission to the United Statesif the defendant
leaves the country, and may result in a denial of a pending or future application for
citizenship If the defendant is a naturalized citizen, such conviction may result in
` denaturalization, followed by deportation or removal nom the United States. Under federal
law, removal or deportation may be an almost certain consequence of a conviction for a
broad range of federal offenses, including, but not limited to, aggravated felonies, as
defined in 8 U.S`.C.v§ 1101(a)(43), and crimes of moral turpitude, which includes crimes
involving fraud. Removal and other immigration consequences are the subject of a
separate proceeding No one, including the defendant’s attorney and the Court, can predict
with certainty the effect of the conviction resulting from this agreement on the defendant’s
immigration status The defendant understands this uncertainty and nonetheless wishes to
plead guilty regardless of any immigration consequences that the guilty plea may entail,

even if the consequence is the defendant’s automatic removal from the United States.

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c. A felony conviction may adversely affect the defendant’s ability to hold certain
professional licenses and may impair the defendant’s ability'to do business with federal,

state, and local governments or to receive benefits from such governments

There may be other adverse consequences as 'well, some of them unforeseeable. lt may be
difficult or impossible to predict all of the adverse consequences of the defendant’s guilty
plea. The defendant agrees that any resulting adverse consequences whether or not
foreseen or foreseeable, will not provide a basis for withdrawing from the guilty plea
described in this agreement or otherwise challenging the resulting conviction and sentence

G. Restitution: lndependent of any agreement to pay restitution, and whether there is any such
agreement the sentencing Court may be required to order that the defendant pay restitution to
any victim of the offense(s) of conviction under the Mandatory Victim Restitution Act, 18
U.S.C. § 3663A. ln addition, the sentencing Court may have the authority to order that the
defendant pay restitution to any victim of the offense(s) of conviction pursuant to 18 U.S.C.
§§ 3663 & 3 664. ln any case involving a conviction for a sexual exploitation offense in chapter
110 of title 18 of the United States Code; the Court must order restitution for the full amount
of the victim's losses as determined by the court The victim's losses include, but are not limited
to medical services related to physical, psychiatric, or psychological care; physical or
occupational therapy or rehabilitation; necessary transportation, temporary housing, and child
care expenses; lost income; attorney's fees and other costs; and any other losses suffered by
the victim as a proximate result of the offense The restitution payment will be in addition to

any other civil or criminal penalty authorized by law.

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H. Forfeiture: lf the defendant has agreed to forfeiture of assets, the defendant agrees to the
following terms and conditions:

a. The defendant hereby forfeits, to the United States, all right, title, and interest of any nature
in any and all assets that are subject to forfeiture, including substitute assets, as set forth
above, whether those assets are in the possession or control of the defendant a nominee,
or some other third party.

b. The defendant consents to the entry of an order of forfeiture of the assets described above

c. The defendant is aware that pursuant to Rule 32.2(b)(4)(A) of the Federal Rules of Criminal
Procedure, a preliminary order of forfeiture becomes final as to a given defendant at
sentencing or at any time before sentencing if the defendant consents The defendant
consents that the preliminary order of forfeiture in this case shall become final as to the
defendant before sentencing, as of the date the preliminary order of forfeiture is entered by
the Court The defendant understands that the government upon entry of the preliminary
order of forfeiture, will address any potential third party claims pursuant to Rule 32.2(0),
and seek to finalize forfeiture j

d. Forfeiture of the defendant’s assets will not satisfy all, or any portion of, a fine, restitution,
or other monetary penalty that the Court may impose upon the defendant in addition to
forfeiture Satisfaction of all, or any portion of, any restitution, fine, or other penalty that
the Court may impose upon the defendant in addition to forfeiture will not satisfy'all, or
any portion of, any forfeiture judgment ordered by the Court

e. ln the event that any successful claim is made, by any third party, to the assets described

above, the defendant agrees to forfeit substitute assets equal in value to the assets

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transferred to any Such third party. The defendant agrees that forfeiture of substitute assets
shall not be deemed an alteration of the Defendant’s sentence

The defendant agrees to cooperate with the United States by taking whatever steps are
necessary to pass clear title to the United States of any forfeitable assets, including but not
limited to, surrendering title; completing any documents or legal proceedings required to
transfer assets to the United States; and taking necessary steps to ensure that assets subject
to forfeiture are not sold, disbursed, expended, destroyed, damaged, hidden or otherwise
made unavailable for forfeiture or removed beyond the jurisdiction of the Court

The defendant waives the right to a jury trial on the forfeiture of assets The defendant
waives all constitutional, legal, and equitable defenses to the forfeiture of assets, as
provided by this agreement in any proceeding, including but not limited to any jeopardy
defense or claim of double jeopardy or any claim or defense under the Eighth Amendment
to the United States Constitution, including any claim of an excessive fine

. The defendant acknowledges that the government may institute civil or administrative
proceedings against any or all of the defendants forfeitable assets, including, but not
limited to substitute assets and any forfeitable assets not identified by the defendant and

agrees not to contest any such forfeiture proceedings

The defendant represents and warrants that the defendant has no direct or indirect interest `

in any property, real or personal, or other asset subject to forfeiture by virtue of this plea

agreement other than those listed above

ln the event the government determines that the defendant has breached any condition of '

this plea agreement none of the forfeited property shall be returned to the defendant nor

shall the defendant assert any claim to the forfeited property. The defendant shall not

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reacquire any forfeited property, directly or indirectly, through family members, nominees,
friends, or associates
I. Determination of Financial Condition and Pavment of Interest and Penalties:

a. ln order to facilitate the collection of financial obligations to be imposed in connection
with this prosecution, the defendant agrees fully to disclose all assets in which the
defendant has any interest or over which the defendant exercises control, directly or
indirectly, including those held by a spouse, nominee, or other third party

b. The defendant will promptly submit a complete, accurate, and truthful financial statement
to the United States Attorney’s Office, in a form it provides and as it directs

c. The defendant authorizes the United States Attorney’s Office to obtain a credit report on
the defendant in order to evaluate the defendant’s ability to satisfy any financial obligation
imposed by the Court

d. lnterest and penalties may accrue, as a matter of law, on any unpaid financial obligation .

.4 imposed as part of the defendant’s sentence, from as early as the date of sentencing
J. Remedies for Breach:

a. Should the government determine that the defendant after the date the defendant has
signed this plea agreement (i) has committed any further crime or violated any condition
of release or supervision imposed by»the Court (whether or not charged); (ii) has given
false, incomplete, or misleading testimony or information; or (iii) has moved to withdraw

/ the defendant’s guilty plea for reasons other than those described in this agreement or
otherwise has breached any term or condition of this plea agreement or supplemental
agreements with the government the government will have the right in its sole discretion,

to void this agreement in whole or in part ln the event of such breach, the defendant will

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remain obligated to plead guilty and otherwise comply with the terms of this agreement

and will not be permitted to withdraw the defendants guilty plea under this agreement

The defendant will be subject to prosecution for any federal criminal violation of which

the government has knowledge, including but not limited to charges that this Office has

agreed to dismiss or not to prosecute under this agreement

' . If the defendant breaches this agreement the government will have the following remedies,

among others, available to it:

i.

ii.

iii.

iv.

To bring prosecution for any federal criminal offenses dismissed or not prosecuted
under this agreement The defendant waives (gives up) any defense or objection to the
commencement of any such prosecution that is not time-barred by the applicable statute
of limitations as of the date on which the defendant signed this plea agreement
notwithstanding the expiration of the statute of limitations between the signing of the
agreement and the commencement of any such prosecution.

In connection with any such prosecution, any information, statement and testimony
provided by the defendant and all leads derived therefrom, may be used against the
defendant without limitation and without regard to any rights the defendant may have
under Fed. R. Crim. P. ll(f) and Fed. R. Evid. 410.

To utilize any information, statement or testimony provided by the defendant in any
proceeding, including at sentencing, notwithstanding U.S.S.G. §1B1.8;

To advocate if, and how, any particular adjustment or specific offense characteristic
affects the applicable Sentencing Guidelines range without regard to any contrary

stipulations contained in this agreement

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v. To refrain from making any sentencing-related motion favorable to the defendant
without regard to any provision in this agreement obligating the government to consider
making or make such motion upon fulfillment of certain conditions

vi. To urge the sentencing Court to take the defendant’s breach into account when
imposing sentence;

vii. To recommend any sentence the government deems appropriate, even if such
recommendation is at odds with any stipulation in this agreement

K. Limitations: This agreement is between the United States Attorney's Office for the Northern
‘ District of New York and the defendant References to “the government” in this agreement
refer only to that Office This agreement does not bind any other federal, state, or local
prosecuting authorities Furthermore, this agreement does not prohibit the United States any
agency thereof, or any third party from initiating or prosecuting any civil or administrative
proceedings directly or indirectly involving the defendant including, but not limited to,
proceedings by the lnternal Revenue Service relating to potential civil tax liability, proceedings
relating to the forfeiture of assets and proceedings by the Department of Homeland Security,
Bureau of Citizenship and lmmigration Services relating to the immigration status of the
defendant
L. Agreement Must be Signed; Modifications Must be Written or on the Record: This
agreement to become effective, must be signed by all of the parties listed below. No promises
agreements terms or conditions other than those set forth in this plea agreement will be
effective unless memorialized in writing and signed by all parties or confirmed on the record

before the Court

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M. Agreement to Plead Guiltv Voluntarv: The defendant acknowledges reading each of the
provisions of this plea agreement with the assistance of counsel and understands its provisions
The defendant further acknowledges that the defendant’s agreement to plead guilty is voluntary

, and did not result from any force, threat or promises (other than the promises in this plea

' agreement and any Written supplemental agreements or amendments).

GRANT C. JAQUITH.
United States Attorney

 

 

Michael D. Ga;?fian/ , Date
Assistant Unit States Attorne{/

Bar RollNo. 517198

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Randi Bianco , Date
Attorney for Defendant

Bar Roll No. 5'07 \"\ “1

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